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                             UNITED STATES DISTRICT COURT
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                          SOUTHERN DISTRICT OF CALIFORNIA
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 7    UNITED STATES OF AMERICA,                 Case No. 20-CR-2717 LAB
 8                       Plaintiff,             JUDGMENT AND ORDER
                                                DISMISSING INFORMATION
 9          v.                                  WITHOUT PREJUDICE
10    DANIEL CONTRERAS,                         The Honorable Larry Alan Burns
11                       Defendant.
12
13         Based on the motion of the United States to dismiss this case without prejudice, it is
14   hereby ordered that the information in the above-entitled action be dismissed without
15   prejudice.
16         SO ORDERED.
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18   Dated: January 15, 2021
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19                                                The Honorable Larry Alan Burns
20                                                UNITED STATES DISTRICT JUDGE

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